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AO 245C (R ev. 12/03) - Amended Judgm ent in a Criminal Case                                                                                    (NO TE: Identify Changes w ith Asterisks(*))




                                                           United States District Court
                                                                                 District of Kansas
                UNITED STATES OF AMERICA                                                              AME NDED JU DGM ENT IN A CRIMINAL CASE
                           v.
                      STARR MOORE                                                                     Case Number:               2:05CR20022-003-JWL
                                                                                                      USM Numb er:               11136-031

                                                                                                      Defendant’s Attorney       R. Bruce Kips

Date of Original Judgment: October 25, 2005
(or D ate of L ast A m end ed J udg m ent)


Reason for Amendment:
  [ ] Co rrection of S entenc e on R ema nd (18 U.S .C. 3 742 (f)(1) and (2 ))                   [X] M odification of Su pervision C onditions (1 8 U .S.C § 35 63(c) o r 358 3(e))
  [ ] Reduction of Sentence for Changed Circumstances                                            [ ] Mo dification of Imposed T erm of Imprisonment for Extraordinary and
      (Fed. R .Crim.P .35(b ))                                                                       Co mpe lling Re ason s (18 U .S.C . §35 82(c)(1 ))
  [ ] Correction of Sentence by Sentencing Court (Fed.R.Crim.P.35(a)                             [ ] Mo dification of Imposed T erm of Imprisonment for Re troactive
  [ ] Correction of Sentence for Clerical Mistake (Fed.R.Crim.P.36)                                  Ame ndme nt(s) to the S entenc ing Guide lines (18 U .S.C . § 35 82(c)(2 ))
                                                                                                 [ ] Direct M otion to D istrict Court P ursuant to [ ] 28 U .S.C . § 22 55, o r
                                                                                                                                                        [ ] 18 U.S.C. § 3559(c)(7)
                                                                                                 [ ] Modification of Restitution Order (18 U.S.C. § 3664)

THE DEFENDANT:
[x]          plead ed guilty to count(s): 1 of the Indictment filed February 4, 2005 .
[]           pleaded nolo contendere to count(s)       which w as accepted by the court.
[]           was found guilty on count(s)      after a plea of no t guilty.

The defendant is adjudicated guilty of these offenses:

             Title & Section                                                     Nature of O ffense                                     Offense Ended                             Count

  18 U.S.C. § 37 1, § 1028 (a)(7),                     CONSPIRACY TO USE ANOTHER’S IDENTITY                                               January 2002                                1
  and § 1029(a)(2)                                     TO CO MM IT IDENTITY THEFT AND T O USE
                                                       UNAUTHORIZED ACCESS DEVICES TO
                                                       DEF RAU D, a Class D felony

        The defendant is sentenced as provided in pages 2 through 5 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

[]           The defendant has been found not guilty on count(s)                             .

[]           Count(s)             (is)(are) dismissed on the motion o f the United States.

         IT IS ORDE RED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name,
residence, or mailing ad dress until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered
to pay restitution, the defendant shall notify the court and Un ited States attorney of material changes in econ omic circum stances.

                                                                                                                                   January 23, 2007
                                                                                                                            Date of Imposition of Judgment

                                                                                                           s/ John W. Lungstrum
                                                                                                                                      Signature of Judge

                                                                                                                        The Honorable John W. Lungstrum,
                                                                                                                            Chief U. S. District Judge
                                                                                                                             Name & Title of Judge

                                                                                                                       January 30, 2007
                                                                                                                                                Date
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AO 245C (Rev. 12/03 ) Am ended Ju dgm ent in a Crim inal Case---Probation                                          (NO TE: Identify Changes w ith Asterisks(*))

DEFENDANT :                      STARR MOORE                                                                                          Judgm ent - Page 2 of 5
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                                                                      PROBATION
           The defendant is hereby sentenced to probation for a term of     five (5) years .




The defendant shall not commit another federal, state, or local crime.

The defendant shall not unlawfully possess a controlled substance.

The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug test within 15 days of
placement on probation and at least two periodic drug tests thereafter, as determined by the court.

[]         The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future substance
           abuse. (Check if applicable)

[x]        The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check if applicable)

[x]        The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check if applicable)

[]         The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a student,
           as directed by the probation officer. (Check if applicable)

[]         The defendant shall participate in an approved program for domestic violence. (Check if applicable)

        If this judgment imposes a fine or restitution, it is to be a condition of probation that the defendant pay in accordance with the Schedule of
Payments sheet of this judgment.

          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions on
the attached page.

                                      STANDARD CONDITIONS OF SUPERVISION

1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
2)    the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of each month;
3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
4)    the defendant shall support his or her dependents and meet other family responsibilities;
5)    the defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training, or other acceptable reasons;
6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance
      or any paraphernalia related to any controlled substances, except as prescribed by a physician;
8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9)    the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person convicted of a felony unless
      granted permission to do so by the probation officer;
10)   the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any contraband
      observed in plain view by the probation officer;
11)   the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
12)   the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission of
      the court;
13)   as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal record or
      personal history or characteristics, and shall permit the probation officer to make such notifications and to confirm the defendant's compliance with
      such notification requirement.
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AO 245C (Rev. 12/03 ) Am ended Ju dgm ent in a Crim inal Case---Probation                                   (NO TE: Identify Changes w ith Asterisks(*))

DEFENDANT :                      STARR MOORE                                                                                   Judgm ent - Page 3 of 5
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                                        SPECIAL CONDITIONS OF SUPERVISION

1.    The defendant is prohibited from possessing or purchasing a firearm, ammunition, destructive device, or other dangerous weapon.

2.    The defendant shall immediately provide the probation officer with access to any and all requested financial information, to include
      executing any release of information forms necessary for the probation office to obtain and/or verify said financial information.

3.    The defendant shall not incur new credit charges or open, or attempt to open, additional lines of credit, without the prior approval
      of the probation officer. The defendant shall also execute any release of information forms necessary for the p robation o fficer to
      monitor the d efendant’s com pliance with the cred it restrictions.

4.    The defendant shall participate in an approved program for mental health, which may include psychological counseling, and share
      in the co sts, based on the ability to pay.

5.    *The defendant shall be placed on home detention for a n add itional period of six (6) months, to co mmence within 30 days o f this
      Judgment Order. During the term of supervision the defendant shall remain at his place of residence except for employment and other
      activities approved in advance by the probation officer. As instructed by the probation officer, the defendant may b e required to
      maintain a telephone at his plac e of residenc e without call forw arding, caller ID, ca ll waiting, po rtable cordless telephones, answering
      machines/service, or any other feature or service which would interfere with the operation of electrical monitoring equipment for the
      above period. The defendant may be required to wear an electronic monitoring device, which may include Global Positioning System
      and/or Random Tra cking, and follow electronic monitoring procedures sp ecified by the p robation o fficer. Ad ditiona lly, the probation
      officer may restrict the defendant from certain areas within the community, and the defendant must com ply with these restrictions.
      The defendant shall assist in the costs of home confinement, based on the ability to pay, at the direction of the probation officer.

6.    *The defendant shall coope rate with the probation office and counsel to determine if there is an excess restitution amount paid, and
      if so, then said excess shall be returned to Mr. Runde.
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AO 245C (R ev.11/04) Amended Ju dgment in a Criminal Case---Criminal Monetary Penalties                                     (NO TE: Identify Changes w ith Asterisks(*))
DEFENDANT:                       STARR MOORE                                                                                                   Judgment - Page 4 of 5
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                                           CRIMINAL MONETARY PENALTIES
     The defendant shall pa y the total criminal monetary penalties under the Schedule of P ayments set forth in this Judgment.

                                                            Assessment                               Fine                          Restitution

      To tals:                                               $ 100.00                                 $0                          $ 16,440.95

*The defendant shall receive credit for all payments previously made toward any criminal monetary
penalties.
[]    The determinatio n of restitutio n is deferred until . An Amended Judgment in a Criminal Case (AO 245C) will be entered after such
      determination.

[x] The defendant shall make restitution (including community restitution) to the following payees in the amounts listed below.

      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise
in the priority order or percentage payment column below. Ho wever, pursuant to 18 U .S.C. § 366 4(i), all no nfederal victims must be paid
before the United States is paid.



 Name of Payee                                                         To tal Loss*                Restitution Ordered                 Priority or Percentage

 G.E. Capital                                                           $7,864.95                        $7,864.95

 Household International                                                $8,571.74                        $8,571.74

 Sears National Bank                                                    $      4.26                        $    4.26

                  Totals:                                             $ 16,664.95                     $ 16,664.95




[]    Restitution amount ordered pursuant to plea agreement $

[]    The defendant shall pay interest on any fine or restitutio n of more tha n $2,500 , unless the fine or restitution is paid in full before the
      fifteenth da y after the d ate of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options set forth in this Judgment
      may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612 (g).

[]    The cou rt determined that the defendant do es not have the ability to p ay interest, and it is ordered that:

      [x ] the interest requirement is waived for the                [ ] fine and/or       [x ] restitution.

      [ ] the interest requirement for the             [ ] fine and/or          [ ] restitution is modified as follows:




  * Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses comm itted on or after September 13, 1994,
but before April 23, 1996.
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AO 245C (R ev.11/04) Amended Ju dgment in a Criminal Case---Criminal Monetary Penalties                                                                     (NO TE: Identify Changes w ith Asterisks(*))
DEFENDANT:                                STARR MOORE                                                                                                                               Judgment - Page 5 of 5
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                                                                   SCHEDULE OF PAYMENTS
    Having assessed the defend ant’s ability to pay, payment of the total criminal mo netary penalties are du e as follows:

A       []      Lump sum payme nt of $ due immediately, balance due

        []      not later than                , or

        []      in accordance with ( ) C, ( ) D, ( ) E, or ( ) F below; or

B       [x]     Payment to begin immediately (may be combined with ( ) C, ( ) D, or (x ) F below); or

C       []      Payment in monthly installments of not less than 5% of the defenda nt's monthly gross house hold incom e ove r a period of
                years to commence      days after the date of this judgment; or

D       []      Payment of not less than 1 0% of the fund s dep osited each month into the inmate's trust fund account and monthly installments
                of not less than 5% of the defendant's monthly gross household income over a period of         years, to commence    days after
                release from imprisonment to a term of supervision; or

E       []      Payment during the term of supervised release will commence within _ (e.g., 30 or 60 days) after release from impriso nment.
                The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F       [x]     Spe cial instructions reg arding the payment of crim inal mo netary p enalties:

                Restitution is due immediate ly an d sha ll be satisfied by monthly installment payments of not less than $280.00
                to be gin 3 0 da ys fro m the date of this judg men t, and continue until re stitution is pa id in full.

If restitution is ordered, the Clerk, U.S. District Court, may hold and accumulate restitution payments, without distribution, until the
amount accumulated is such that the minimum distribution to any restitution victim will not be less than $25.

Paym ents sho uld be made to Clerk, U.S. District C ourt, U .S. Co urthouse - Ro om 2 59, 5 00 S tate Avenue, Kan sas City, K ansas 6 610 1.

Unless the court has exp ressly ordered otherwise, if this judgm ent imp oses im prisonment, paym ent of criminal m onetary penalties is due
during impriso nment. All criminal monetary penalties, excep t those p ayments mad e throu gh the F ederal Bureau of Prisons’ Inm ate
Financial Re sponsibility Program, are mad e to the clerk o f the cou rt.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

        []       Joint and Several

        Defendant and Co-De fendant Names and Case N umbers (including defendant number), Total Amount Joint and Several Amo unt and
        corresponding payee, if appropriate.
                          Case Number                                                                                                                                          Joint and Several
                      (including Defendant                                                              Defendant Name                                                              Amount
                            Numb er)


        []       The defendant shall pay the cost of prosecution.
        []       The defendant shall pay the following court cost(s):
        []       The defendant shall forfeit the defendant's interest in the following pro perty to the United States:




 Pa ym en ts s ha ll be ap plie d in the follo wi ng ord er: (1) as sess m en t, (2 ) re stitution princ ipa l, (3 ) re stitution intere st, (4) fine princ ipa l, (5) fin e inte rest, (6) comm unity restitution,
(7) penalties, (8) costs, including cost of prosecution and court costs.
